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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS, ABILENE DIVISION

Case number (if known)                                                       Chapter       7
                                                                                                                              Check if this an
                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Lauren Engineers & Constructors, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification          XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                      Mailing address, if different from principal place of
                                                                                                   business

                                  901 S. 1st Street                                                P.O. Box 1761
                                  Abilene, TX 79602                                                Abilene, TX 79604-1761
                                  Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                  Taylor                                                           Location of principal assets, if different from principal
                                  County                                                           place of business

                                                                                                   Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://laurenec.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Lauren Engineers & Constructors, Inc.                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                237990

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Lauren Engineers & Constructors, Inc.                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      The Lauren Corporation                                       Relationship               Parent
                                                                Northern District of
                                                                Texas, Abilene
                                                    District    Division               When           4/08/21                Case number, if known      21-10050



11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

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         Name




16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 8, 2021
                                                  MM / DD / YYYY


                             X   /s/ Jack Shoemate                                                        Jack Shoemate
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Kell C. Mercer                                                        Date April 8, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kell C. Mercer
                                 Printed name

                                 Kell C. Mercer, P.C.
                                 Firm name

                                 1602 E. Cesar Chavez Street
                                 Austin, TX 78702
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (512) 627-3512                Email address      kell.mercer@mercer-law-pc.com

                                 Tex. Bar No. 24007668
                                 Bar number and State




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                RESOLUTIONS OF THE BOARD OF DIRECTORS

                                             of

                LAUREN ENGINEERS & CONSTRUCTORS, INC.

                                      March 29, 2021

                                                                   Board of Lauren
Engineers & Constructors, Inc.          Corporation ), the Board does hereby adopt the
following resolutions:

RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
the Corporation, its creditors, shareholders and other interested parties, that the
Corporation be authorized and empowered to file, at such time as it is deemed necessary
by the appropriate officer of the Corporation,                                   ) under
Title 11 of                                                    ) in the United States
Bankruptcy Court for the Northern District of Texas, Abilene                Bankruptcy


RESOLVED, that Jack Shoemate, the President and Chief Executive Officer of the
Corporation is hereby authorized, directed and empowered, on behalf of and in the name
of the Corporation, (i) to execute and verify the Petition and cause the Petition to be filed
with the Bankruptcy Court and (ii) to perform any and all such acts as are reasonable,
advisable, expedient, convenient, proper and necessary to effect any of the foregoing; and
it is further

RESOLVED, that Jack Shoemate, and such other officers of the Corporation as Jack
Shoemate shall from time to time designate be, and each of them acting alone is,
authorized, directed and empowered, on behalf of and in the name of the Corporation, to
execute, verify and file or cause to be filed all other reasonable and customary
applications, schedules, lists, motions and other papers and documents; and it is further

RESOLVED, that Jack Shoemate, and such other officers of the Corporation as Jack
Shoemate shall from time to time designate be, and each of them acting alone is,
authorized, directed and empowered to retain on behalf of the Corporation, the law firm
Kell C. Mercer, P.C. as bankruptcy counsel, to represent the Corporation in the aforesaid
bankruptcy case and all other related matters in connection therewith and such other terms
and conditions as the officers shall deem advisable; and it is further

RESOLVED, that Jack Shoemate and/or Matt Higgins are each authorized and
empowered, for and on behalf of the Company, to execute and file all such instruments
and documents, to make all payments, to enter into all agreements and to do or cause to
be done all acts and things that may be necessary or appropriate to carry out the purposes
of the foregoing resolutions.



                                             1
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____________________________
Mary Rebecca Whitener, Director



____________________________
Jack Shoemate, Director



____________________________
Matt Higgins, Director




                                           2
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                                                                                                                              BTXN 094 (rev. 5/04)




                                              UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS

 In Re:                                                                    §
                                                                           §
              Lauren Engineers & Constructors, Inc.                        §        Case No.:
                                                                           §
                                                                           §
                                                             Debtor(s)     §
                                                                           §

                                                 VERIFICATION OF MAILING LIST


          The Debtor(s) certifies that the attached mailing list (only one option may be selected per form):

                                    is the first mail matrix in this case.

                                    adds entities not listed on previously filed mailing list(s).

                                    changes or corrects name(s) and address(es) on previously filed mailing list(s).

                                    deletes name(s) and address(es) on previously filed mailing list(s).



       In accordance with N.D. TX L.B.R. 1007.2, the above named Debtor(s) hereby verifies that the
attached list of creditors is true and correct.




 Date:       April 8, 2021                                           /s/ Jack Shoemate
                                                                     Jack Shoemate/CEO
                                                                     Signer/Title

 Date: April 8, 2021                                                 /s/ Kell C. Mercer
                                                                     Signature of Attorney
                                                                     Kell C. Mercer
                                                                     Kell C. Mercer, P.C.
                                                                     1602 E. Cesar Chavez Street
                                                                     Austin, TX 78702
                                                                     (512) 627-3512
                                                                         XX-XXXXXXX
                                                                     Debtor's Social Security/Tax ID No.


                                                                     Joint Debtor's Social Security/Tax ID No.




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                         11X17, INC.
                         P O BOX 117
                         JACKSONVILLE, TX 75766


                         1904 GRAND PARKWAY NORTH LP
                         2537 S. GESSNER RD., STE 250
                         HOUSTON, TX 77063


                         24 HOUR SAFETY, LLC
                         P. O. BOX 4356, DEPT 1561
                         HOUSTON, TX 77210


                         AARON B CONN
                         1631 COUNTY ROAD 134
                         OVALO, TX 79541


                         ABEL C NAJERA CORRAL
                         11460 ARDELLE AVE
                         EL PASO, TX 79936


                         ABILENE MAINT. SUPPLIES
                         873 N. MOCKINGBIRD LN
                         ABILENE, TX 79603


                         ACCURATE AIR SOLUTIONS LLC
                         P.O. BOX 5817
                         ABILENE, TX 79608


                         ADAM BENAVIDES
                         241 NW AVE F
                         HAMLIN, TX 79520


                         ADIGO
                         3091 S. JAMAICA COURT
                         SUITE 115
                         AURORA, CO 80014
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                     AHERN RENTALS, INC
                     1401 MINERAL AVE
                     LAS VEGAS, NV 89106


                     AIRGAS USA, LLC
                     1800 E 20th Street
                     Farmington, NM 87401


                     AL SANCHEZ
                     11906 TEANECK DR.
                     HOUSTON, TX 77089


                     AL SANCHEZ
                     11906 TEANECK DR
                     HOUSTON, TX 77089


                     ALEJANDRO BEJAR
                     15517 AIKEN LN
                     HOUSTON, TX 77032


                     ALERE TOXICOLOGY PROD. DIV
                     1342 COURT STREET
                     PORTSMOUTH, VA 23704


                     ALL COPY
                     PO BOX 545
                     ABILENE, TX 79604


                     Allensworth & Porter
                     c/o Travis Brown
                     100 Congress Avenue, Suite 700
                     Austin, TX 78701


                     ALLENSWORTH & PORTER, L.L.P.
                     100 CONGRESS AVE. SUITE 700
                     AUSTIN, TX 78701
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                     ALONZO R MORALES
                     2605 TORONTO AVE
                     MCALLEN, TX 78503


                     ALPHA RESOURCES, LLC
                     2333 INDIAN CREST DR.
                     PELHAM, AL 35124


                     ANDREW I COLEMAN
                     6361 MANCHESTER CT
                     TYLER, TX 75703


                     ANIXTER, INC.
                     1601 Waters Ridge Rd
                     Lewisville, TX 75057


                     ANTHONY D HARMAN
                     606 HOLLAND ST
                     MARSHALL, TX 75670


                     ARMANDO A TORRES
                     9527 ROANOKE DR
                     EL PASO, TX 79924


                     ARMANDO ARCINIEGA JR
                     4901 RANCHO VERDE PKWY
                     CROWLEY, TX 76036


                     ARMANDO SANCHEZ JR
                     5609 SAGO DR
                     WESLACO, TX 78599


                     AT & T
                     PO BOX 105414
                     ATLANTA, GA 30348-5414
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                     AT&T
                     P.O. BOX 5019
                     CAROL STREAM, IL 60197


                     AT&T MOBILITY
                     ONE AT&T WAY
                     BEDMINSTER, NJ 07921


                     ATMOS ENERGY CORPORATION
                     P.O. BOX 650205
                     DALLAS, TX 75265-0205


                     AUBREE F FULCHER
                     3934 PURDUE LANE
                     ABILENE, TX 79602


                     AZB & Partners
                     Penisula Corporate Park
                     Ganpatrao Kadam Marg
                     Lower Parel, Mumbai, MH 00040-0013


                     B & J WELDING SUPPLY LTD
                     1512 EAST 50TH
                     LUBBOCK, TX 79404


                     BARBARA STINE
                     134 DOUGLAS FIR CT.
                     WALESKA, GA 30183


                     BARCO RENT A TRUCK
                     717 SOUTH 5600 WEST
                     SALT LAKE CITY, UT 84104


                     BARNHART BOLT & SPECIAL FASTENERS, INC.
                     PO BOX 69085
                     ODESSA, TX 79769-9085
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                     BAY AREA RENTALS
                     5525 RED BLUFF RD
                     PASADENA, TX 77505


                     BBVA COMPASS
                     P. O. BOX 10566
                     BIRMINGHAM, AL 35296


                     Becky Whitener
                     c/o Katherine Hopkins
                     Kelly Hart & Hallman
                     201 Main Street, Suite 2500
                     Fort Worth, TX 76102
                     BECKY WHITENER
                     1147 ELMWOOD DR
                     ABILENE, TX 79602


                     BENTEK CORPORATION
                     1991 SENTER RD
                     SAN JOSE, CA 95112


                     BIBLE HARDWARE, INC
                     333 WALNUT ST.
                     ABILENE, TX 79601


                     BIG BEND SERVICES LLC
                                         8212
                     SAN DIEGO ST
                     PO BOX 61226
                     ODESSA, TX 79765


                     BIG RED FASTENERS INC
                     PO BOX 470547
                     TULSA, OK 74147-0547


                     BIGGE CRANE AND RIGGING CO
                     10700 BIGGE AVE
                     SAN LEANDRO, CA 94577
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                     BILL WILLIAMS TIRE CENTER
                     1201 S. Treadaway BLVD
                     Abilene, TX 79602


                     BIZMARCK BEJAR
                     15517 AIKEN LN
                     HOUSTON, TX 77032


                     BLACK JACK ENERGY SERVICES, LL
                     17530 CR 265
                     CLYDE, TX 79510


                     BLACK PLUMBING CO INC
                     PO BOX 6347
                     ABILENE, TX 79608-6347


                     BLUE CROSS BLUE SHIELD OF TX
                     DEPT 1134
                     PO BOX 121134
                     DALLAS, TX 75312-1134


                     BLUEBEAM SOFTWARE, INC
                     766 E COLORADO BLVD STE 200
                     PASADENA, CA 91101


                     BOXX MODULAR
                     3475 HIGH RIVER ROAD
                     FORT WORTH, TX 76155


                     BRAUN INTERTEC CORPORATION
                     11001 HAMPSHIRE AVENUE SOUTH
                     MINNEAPOLIS, MN 55438


                     BRENDA D RAY
                     1410 WOODRIDGE DR
                     ABILENE, TX 79605
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                     BRIAN CASEY
                     4709 SPANISH OAK CT
                     ABILENE, TX 79606


                     Brian Sinn
                     Siemens Energy, Inc.
                     Quadrangle, 4400 Alafaya Trail MC Q2-290
                     Orlando, FL 32826


                     BRITTANY WHITE
                     725 CR 134
                     OVALO, TX 79541


                     BRYCE C DAVISON
                     333 SOUTHWIND CIR
                     ABILENE, TX 79602


                     BUCHANAN HAULING & RIGGING, INC.
                     4625 INDUSTRIAL BLVD
                     FORT WAYNE, IN 46825


                     BUGMAN PEST CONTROL
                     PO BOX 1173
                     ABILENE, TX 79604


                     CALEB CHEATHAM
                     5 NANDINA CIR
                     ABILENE, TX 79605


                     CALVERT-MENICUCCI PC
                     8804 WASHINGTON ST., NE SUITE E
                     ALBUQUERQUE, NM 87113


                     CAN-DOO BUDJET RENTALS, INC
                     301 GOLIAD DR.
                     ABILENE, TX 79601
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                     CARLOS E SILVAS
                     102 N 5TH AVE
                     NEDERLAND, TX 77627


                     CASIMIRO RODARTE
                     13125 OLD HEARNE RD
                     BRYAN, TX 77803


                     CD FARM & OILFIELD DOZER
                     4910 CR 260
                     ANSON, TX 79501


                     CDW DIRECT, LLC
                     200 N. MILWAUKEE AVE.
                     VERNON HILLS, IL 60061-1577


                     CELESTINO RIVERA
                     6025 TRESCON
                     HOUSTON, TX 77048


                     CESAR I GARCIA SERNA
                     1952 S SEMINOLE ST
                     AMARILLO, TX 79103


                     CG Investments, LP
                     PO Box 4737
                     Houston, TX 77210-4737


                     CHARLES L ASHMORE
                     1703 SLAYDON
                     HENDERSON, TX 75654


                     CHARLES PRICE
                     3617 DUKE LN
                     ABILENE, TX 79602
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                     CHRISTIAN SERVICE CENTER
                     3185 N. 10TH
                     ABILENE, TX 79603


                     CHRISTOPHER LEFLER
                     977 PLEASANT VALLEY RD
                     WHITE SULPHUR SPRINGS, WV 24986


                     Christopher R. Ward
                     Clark Hill Strasburger
                     2600 Dallas Parkway, Suite 600
                     Frisco, TX 75034


                     CHRISTOPHER T STURDIVANT
                     315 ASLHEY 201W
                     CROSSETT, AR 71635


                     CHRISTOPHER TORRES
                     12505 COUNTY RD 416
                     CROSS PLAINS, TX 76443


                     CISCO EQUIPMENT RENTALS, LLC
                     520 SE LOOP 338
                     ODESSA, TX 79762


                     CLAIMS-X-CHANGE, LLC
                     14200 MIDWAY RD, STE 106
                     DALLAS, TX 75244


                     CLARK COUNTY LEGAL NEWS
                     433 CONCORD WAY
                     HENDERSON, NV 89015


                     CLAY A BOYCE
                     706 MAJI RD
                     WHITEHOUSE, TX 75791
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                     CLIFFORD WALKER III
                     118 MORGAN LN
                     NATCHITOCHES, LA 71457


                     CMC CONSTRUCTION SERVICES
                     SUITE 300
                     15990 NORTH BARKERS LANDING
                     HOUSTON, TX 77079


                     CODY KENDRICK
                     210 TAYLOR
                     TUSCOLA, TX 79562


                     COLEMAN AMERICAN MOVING SVCS,
                     4825 DERRICK DRIVE
                     ABILENE, AL 79601


                     CONDLEY AND COMPANY, L.L.P.
                     P.O. BOX 2993
                     ABILENE, TX 79604-2993


                     CONLEY PRINTING COMPANY, INC
                     902 S. TREADAWAY
                     ABILENE, TX 79602


                     CONSTELLATION NEW ENERGY, INC
                     111 MARKET PLACE, 5th FLR
                     BALTIMORE, MD 21202


                     CORBY STURDIVANT
                     1601 ARCADIA DRIVE
                     RUSTON, LA 71270


                     CORINTHIAN X JONES JR
                     2192 LAMORE DR
                     COLUMBUS, GA 31907
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                     CORSAIR CONSULTING LLC
                     1505 VOLTA DR. , STE 200
                     CEDAR PARK, TX 78641


                     CRAIG D LOVE
                     8350 HORSESHOE CIRCLE
                     ABILENE, TX 79602


                     CRAIG MENDENHALL
                     1882 ELMWOOD
                     ABILENE, TX 79605


                     CRANE SERVICE, INC
                     505 MURRY RD. S.E.
                     ALBUQUERQUE, NM 87105


                     CROSS COUNTRY INFRASTRUCTURE SERVICES IN
                     2251 RIFLE ST
                     AURORA, CO 80011


                     CURTIS STANLEY
                     508 CONRAD HILTON BLVD
                     CISCO, TX 76437


                     DALE CRAWFORD
                     2412 BROOK HOLLOW DR
                     ABILENE, TX 79605


                     DANIEL BARBEE
                     11233 CR 335
                     HAWLEY, TX 79525


                     DANIEL DELGADO
                     1005 BANKER RD
                     CANUTILLO, TX 79835
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                     DARREN E BLACK
                     PO BOX 3617
                     PAGE, AZ 86040


                     DATROO TECHNOLOGIES LLC
                     1302 HIGHLAND AVE.
                     ABILENE, TX 79605


                     DAVID A FEIGHTNER
                     419 CR 3707
                     Bullard, TX 75757


                     DAVID JOINER
                     3034 RICSAN
                     ABILENE, TX 79605


                     DAVID L FOLDEN
                     301 VINEYARD LN
                     BIRMINGHAM, AL 35242


                     DAVID L PAZ
                     6001 SE 14TH AVE
                     AMARILLO, TX 79104


                     DAVID M BROWN
                     118 BUCKSHOT RD
                     ABILENE, TX 79602


                     DAVID R. MCWRIGHT
                     PO BOX 93
                     BRONTE, TX 76933


                     DAVID S PAZ
                     1005 TENNANT ST
                     AMARILLO, TX 79104
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                     DAVID W GROVES
                     2044 FARM RD 2297
                     SULPHUR SPRINGS, TX 75482


                     DAVID WEATHERLY
                     339 ALEXANDRA
                     TUSCOLA, TX 79656


                     DELUXE BUSINESS CHECKS
                     3680 VICTORIA ST. N
                     SHOREVIEW, MN 55126


                     DEVON R TWEDELL
                     1624 P E DAIGLE ROAD
                     IOWA, LA 70647


                     DIANNA D DAVIS
                     3417 BUFFALO GAP RD
                     ABILENE, TX 79605


                     DIMENSIONAL SOLUTIONS, INC
                     20018 CHATEAU BEND DR
                     KATY, TX 77450


                     DISA, INC.
                     12600 NORTHBOROUGH DR.
                     STE 300
                     HOUSTON, TX 77067


                     DISABILITY RESOURCES, INC.
                     3602 NORTH CLACK STREET
                     ABILENE, TX 79601


                     DISCOVERY BENEFITS LLC
                     4321 20TH AVE S
                     FARGO, ND 58103
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                     DJ WRIGHT
                     5770 S EDMUNDS DR
                     CARSON CITY, NV 89701


                     DNOW L.P
                     7402 N ELDRIDGE PKWY
                     HOUSTON, TX 77041


                     DOMINIC K WARD
                     308 S AVE N
                     LAMESA, TX 79331


                     DONALD MATTERN
                     1825 OLDHAM LN
                     ABILENE, TX 79602


                     DONIELLE R JONES
                     23504 KENWORTH DR
                     NEW CANEY, TX 77357


                     DONOVAN AYERS
                     1912 SUNLAND DR
                     CARSON CITY, NV 89706


                     DONOVAN G AYERS III
                     3201 AMARILLO ST
                     ABILENE, TX 79602


                     DOOLEY TACKABERRY, INC
                     1515 W 13TH STREET
                     DEER PARK, TX 77536


                     DOUGLAS A TWEDELL II
                     10102 OLD BATON ROUGE HWY
                     HAMMOND, LA 70403
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                     DTT WELDING & EXCAVATING
                     RT 4 BOX 20 E
                     HERNANDEZ, NM 87537


                     DUNCAN BOLT COMPANY
                     8535 DICE RD.
                     SANTA FE SPRINGS, CA 90870


                     DUSTIN E WEATHERFORD
                     1409 S MOCCASIN TRAIL
                     GILBERT, AZ 85296


                     DUSTIN W BARBEE
                     126 CENTURY LANE
                     CLYDE, TX 79510


                     DWAYNE H ISTRE
                     2416 POM ROY RD
                     LAKE ARTHUR, LA 70549


                     DWIGHT E MINOR
                     15119 NORTHWOOD
                     TYLER, TX 75703


                     E AND E INDUSTRIAL SERVICES IN
                     12610 N. AIRLINE HWY
                     GONZALES, LA 70737


                     E-Z LINE PIPE SUPPORT CO., LLC
                     P. O. BOX 767
                     MANVEL, TX 77578


                     E2RC LLC
                     439 SOUTH HILL RD
                     BERNALILLO, NM 87004
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                     EDGAR D GONZALEZ
                     15111 SIRIUS CIR
                     SAN ANTONIO, TX 78245


                     EDGEN MURRAY CORPORATION
                     18444 HIGHLAND, RD
                     BATON ROUGE, LA 70809


                     EDWARD G WINEGEART
                     4734 PAMELA DR
                     ABILENE, TX 79606


                     EDWIN H LOZANO
                     70 DELICADO DR
                     WHITE ROCK, NM 87547


                     ELDEN WAYMAN
                     343 PR 2371
                     ABILENE, TX 79601


                     ELECTRICAL ENGINEERING & EQUIPMENT
                     953 73RD ST
                     WINDSOR HEIGHTS, IA 50324


                     ELITE SUPPLY PARTNERS INC
                     13505 E 61ST STREET, SUITE A
                     BROKEN ARRROW, OK 74012


                     ELLIOTT ELECTRIC SUPPLY, INC
                     4281 CRAWFORD DR.
                     ABILENE, TX 79602


                     ENERGY FIELD EQUIPMENT SERVICES LLC
                     39 S. YORK ROAD
                     DILLSBURG, PA 17019
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                     Engie North America, Inc.
                     1360 Post Oak Blbd., Suite 400
                     Houston, TX 77056


                     Enterprise Crude Pipeline, LLC
                     P.O. Box 4735
                     Houston, TX 77210


                     Enterprise Products Operating, LLC
                     P.O. Box 4324
                     Houston, TX 77210


                     ENTERPRISE RENT A CAR
                     ATTN: ACCTS RECEIVABLE
                     2860 SLATER RD.
                     MORRISVILLE, NC 27560-8436


                     ERIC ANDERSON
                     2334 GREENBRIAR DR.
                     ABILENE, TX 79605


                     ERIC D ANDREWS
                     2212 DRIVER
                     BIG SPRING, TX 79720


                     ESPANOLA TRANSIT MIX, LLC
                     1302 N RIVERSIDE DRIVE
                     ESPANOLA, NM 87532


                     ESSEX CRANE RENTAL CORPORATION
                     1110 LAKE COOK RD, STE 220
                     BUFFALO GROVE, IL 60089


                     Estate of Charles C. Whitener III
                     c/o
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                     Estate of Cleve Whitener
                     McMahon Surovik Suttle, PC
                     P.O. Box 3679
                     Abilene, TX 79604


                     ETAP
                     17 GOODYEAR, STE 100
                     IRVINE, CA 92618


                     EVER GALLEGOS
                     205 CALLES LAS TUNAS
                     ESPANOLA, NM 87532


                     Farwest Corrosion Control Company
                     12029 Regentview Ave
                     Downey, CA 90241-5517


                     FASTENAL COMPANY
                     2001 THEURER BLVD
                     WINONA, MN 55987


                     FEDEX PALATINE
                     P. O. BOX 660481
                     DALLAS, TX 75266-0481


                     FERGUSON ENTERPRISES, LLC
                     12500 JEFFERSON AVE
                     NEWPORT NEWS, VA 23602


                     FIDELITY INVESTMENTS
                     82 DEVONSHIRE ST. KW1C
                     BOSTON, MA 02109


                     FRANCA BENTON
                     1398 MEANDER ST.
                     ABILENE, TX 79602
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                     FRANK'S SUPPLY CO. INC
                     3311 STANFORD DRIVE NE
                     ALBUQUERQUE, NM 87107


                     FTC Solar, Inc.
                     9020 N. Capital of Texas Hwy, Suite 260
                     Austin, TX 78750


                     GABRIEL R SANDERSON
                     1602 E 139TH CT
                     GLENPOOL, OK 74033


                     GAIL CRAIN
                     531 APACHE LANE
                     ABILENE, TX 79601


                     GANJIGUUR NARMANDAKH
                     4405 N GARFIELD ST A106
                     MIDLAND, TX 79705


                     GEN PRO
                     11310 W INTERSTATE 2 E
                     ODESSA, TX 79765


                     GENERAL STEEL WAREHOUSE, INC
                     PO BOX 2037
                     LUBBOCK, TX 79408


                     GENESIS SYSTEMS, INC
                     2663 MARQUIS DR
                     GARLAND, TX 75042


                     GERARDO CASTANEDA AVALOS
                     15250 PUMICE
                     EL PASO, TX 79928
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                     GERARDO SANTIAGO HERNANDEZ
                     1112 PEACHTREE CR
                     ROUND ROCK, TX 78681


                     GLOBAL SAMARITAN RESOURCES
                     2074 N. 1st ST
                     ABILENE, TX 79603


                     GOINS CRANE SERVICE, INC
                     PO BOX 5276
                     ABILENE, TX 79608


                     GOSAFE
                     W JOE SHAW, LTD dba GOSAFE
                     PO BOX 1025
                     DEER PARK, TX 77536


                     GRAINGER, INC
                     100 GRAINGER PKWY
                     LAKEFOREST, IL 60045-5201


                     GRAYBAR ELECTRIC CO., INC
                     1601 South Treadaway
                     Abilene, TX 79602


                     GREAT PLAINS EQUIPMENT RENTAL LLC
                     802 EAST 34TH ST
                     LUBBOCK, TX 00079-4041


                     H & E EQUIPMENT SERVICES, INC
                     1700 South Sam Houston
                     Parkway West
                     Houston, TX 77047


                     HARPER BATES & CHAMPION LLP
                     1717 MAIN STREET, SUITE 3550
                     DALLAS, TX 75201
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                     HAZARD SCOUT, LLC
                     1706 SMOKING OAK PLACE
                     NORMAN, OK 73072


                     HD SUPPLY WHITECAP CONST SUPP
                     501 W. CHURCH ST.
                     ORLANDO, FL 32805


                     HERC RENTALS INC
                     PO BOX 936257
                     ATLANTA, GA 31193


                     HILTI, INC.
                     13635 Stemmons Fwy #300
                     Farmers Branch, TX 75234


                     HYDRO BLIND SOLUTIONS
                     5500 TWIN CITY HWY
                     PORT ARTHUR, TX 77642


                     HYTORC
                     333 RT. 17 NORTH
                     MAHWAH, NJ 07430


                     INDUSTRIAL DIESEL
                     8705 HARMON RD.
                     FORT WORTH, TX 76177


                     ISAAC A FLORES
                     5210 SHADY GLEN LANE
                     ABILENE, TX 79606


                     ISIDRO MORENO MONTOYA
                     2236 CHARLES ST
                     PAMPA, TX 79065
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                     JABO SUPPLY CORP.
                     10085 EMERSON AVE.
                     PARKERSBURG, WV 26104


                     JACE RHODES
                     2857 GILMER AVE
                     ABILENE, TX 79606


                     JACK SHOEMATE
                     6838 PRESTONSHIRE LN
                     DALLAS, TX 75225


                     JACKSON BROTHERS FEED AND SEED
                     3818 S. TREADAWAY BLVD
                     ABILENE, TX 79602


                     JAIRO MUNGUIA
                     613 BANCROFT CHAPEL RD
                     KINGSPORT, TN 37660


                     JAMES M PUCKETT
                     1317 Tulane Dr
                     ABILENE, TX 79602


                     JAMES PAYNE
                     2317 JEANETTE
                     ABILENE, TX 79602


                     JAMES PIERCE
                     2573 WILL PET RD
                     LUCEDALE, MS 39452


                     JAMES, COODE, & HOBSON, INC.
                     4210 HAWKINS ST. NE
                     ALBUQUERQUE, NM 87109
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                     JANE WECKWERTH
                     1302 S. LEGGETT DR.
                     ABILENE, TX 79605


                     JANET A NEAPOLE
                     7880 FAWNDALE WAY
                     SANDY SPRINGS, GA 30350


                     JARED A GEERS
                     207 S GRAND ST
                     CLARENCE, MO 63437


                     JARED GEERS
                     207 S GRAND ST
                     CLARENCE, MO 63437


                     JASON G JOHNSON
                     7399 PALOMAR AVE
                     YUCCA VALLEY, CA 92284


                     JASON G LOYA
                     827 S ESPANOLA ST
                     LAS CRUCES, NM 88001


                     JASON HINKLE
                     2560 COUNTY ROAD 133
                     HAMLIN, TX 79520


                     JASON MCFADDEN
                     6973 FM 1082
                     ABILENE, TX 79601


                     JERRY L WHITLOW
                     4272 TIGER LN
                     LAKE ARTHUR, LA 70549
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                     JERRY R LAWRANCE
                     1297 WAGON WHEEL LN
                     BEDIAS, TX 77831


                     JERRY WHETSEL
                     1335 GLENHAVEN DRIVE
                     ABILENE, TX 79603


                     JERRY WHITLOW
                     4272 TIGER LANE
                     LAKE ARTHUR, LA 70549


                     JESUS A RANGEL
                     1533 GREEN
                     ABILENE, TX 79603


                     JESUS A SILVAS
                     4620 LAKESHORE DR
                     PORT ARTHUR, TX 77642


                     JESUS M SALCIDO
                     4805 W COUNTY RD 120
                     MIDLAND, TX 79706


                     JIMMY D COATS III
                     1500 CHACO
                     GRANTS, NM 87020


                     JOEL ORDWAY
                     2309 COOKE STREET
                     ABILENE, TX 79605


                     JOEY F MARTIN
                     1316 TX-3
                     LEAGUE CITY, TX 77573
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                     JOHAN MARTENS
                     2006 CR M
                     LAMESA, TX 79331


                     JOHN D BILBREY
                     200 E PIONEER ST
                     RISING STAR, TX 76471


                     JOHN E COTTEN
                     12522 STATE HWY 31 E
                     BROWNSBORO, TX 75756


                     JOHN J. HYLAND
                     2326 VALHOLLA COURT
                     ABILENE, TX 79606


                     JOHN R CROSSMAN
                     302 BROOKE DR
                     ABILENE, TX 79601


                     JONATHAN BEJAR
                     15246 LA JOLLA LN
                     HOUSTON, TX 77060


                     JONATHAN D SAUSEDA
                     748 HWY 880
                     OAK GROVE, LA 71263


                     JOSE D SOLIS
                     2601 LA FRONTERA BLVD
                     ROUND ROCK, TX 78681


                     JOSE G CADENA JR
                     613 BANCROFT CHAPEL RD
                     KINGSPORT, TN 37660
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                     JOSE HERNANDEZ
                     933 WEST MORELAND ST.
                     ABILENE, TX 79603


                     JOSEPH A MCCARTY
                     3934 PURDUE LANE
                     ABILENE, TX 79602


                     JOSEPH R ROCCO
                     364 CHERYL AVE
                     WHITE ROCK, NM 87547


                     JUAN A DURAN
                     1303 GREENFIELD AVE
                     MISSION, TX 78572


                     JUAN C RODRIGUEZ
                     329 N 11TH ST
                     RAYMONDVILLE, TX 78580


                     JUAN J ARELLANO RODARTE
                     2102 STONE MEADOW CIR
                     BRYAN, TX 77803


                     JUAN M HIDALGO JR
                     2807 AVE C
                     SNYDER, TX 79549


                     JUSTIN V MAYER
                     2406 MORNING DRIVE
                     BAYTOWN, TX 77520


                     KAMTECH Services, Inc.
                     901 S. First Street
                     Abilene, TX 79602
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                     KARL G GREINER
                     6728 COUNTY ROAD 120
                     CLYDE, TX 79510


                     KAVANTE J CONERLY
                     3700 BUENA VISTA RD, APT 98
                     COLUMBUS, GA 31906


                     KELVIN L KNIGHT
                     218 CR 230
                     WINTERS, TX 79567


                     KENNETH BRUCE STEWART
                     4001 FAUDREE RD #D201
                     ODESSA, TX 79765


                     KENNETH M FREIDBERG
                     201 KING AVE
                     SAN ANTONIO, TX 78211


                     KENNETH W LEEDS JR
                     2016 N 550 W 49
                     CEDAR CITY, UT 84721


                     KIMBERLY J DUNN
                     202 ELM
                     SNYDER, TX 79549


                     KIRK BOSWELL
                     2015 BROOKHOLLOW
                     ABILENE, TX 79605


                     KYLE D. STEWART
                     2266 COUNTY ROAD 162
                     OVALO, TX 79541
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                     LAURA A MCCLINTOCK
                     4434 MARGARITAS WAY
                     ABILENE, TX 79606


                     Lauren Engineers & Constructors, Inc.
                     901 S. 1st Street
                     Abilene, TX 79602


                     LAUREN WHITENER
                     1147 ELMWOOD
                     ABILENE, TX 79605


                     LAURENCE J THOMAS
                     1342 LAWYERS LANE
                     ABILENE, TX 79602


                     LAWRENCE I BRAVO
                     17822 CR 127
                     PEARLAND, TX 77581


                     LEE TATUM
                     110 COUNTY RD 336
                     TUSCOLA, TX 79562


                     LEROY ARCE
                     1250 WEST LAKE DRIVE
                     HAMILIN, TX 79520


                     LESLIE OXFORD
                     1202 CR 650
                     TUSCOLA, TX 79562


                     LIFE LINE TECHNOLOGIES, LLC
                     1028 FORUM DRIVE
                     BROUSSARD, LA 70518
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                     LLR-ENGINEERS & SURVEYORS BRD.
                     P.O. BOX 11597
                     COLUMBIA, SC 29211-1597


                     LM Concrete
                     19 Rito Guicu
                     Santa Fe, NM 87507


                     LOCKWOOD PARTNERS LLC
                     P.O. BOX 53466
                     HOUSTON, TX 77052


                     LOOKOUT SOFTWARE, INC
                     422 RICHARDS ST #300
                     VANCOUVER, BC V6B 2Z4


                     LOS ALAMOS COUNTY ENVIRONMENTAL SERVICES
                     3701 E JEMEZ ROAD
                     LOS ALAMOS, NM 87544


                     LOS ALAMOS TRANSIT MIX
                     PO BOX 747
                     LOS ALAMOS, NM 87544


                     LOVE AND CARE MINISTRIES
                     233 FANNIN ST.
                     ABILENE, TX 79603


                     LOWE'S HOME CENTERS, INC
                     ACCT 82131440432149
                     PO BOX 530954
                     ATLANTA, GA 30353-0954


                     LUCINA TREJO
                     4206 ROXTON
                     AMARILLO, TX 79109
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                     LUIS MONTEJANO
                     214 NEWFIELD DR
                     WEST COLUMBIA, SC 29169


                     LUIS REYNA
                     1244 MERIWEATHER AVE
                     FORT WORTH, TX 76115


                     LYDIA FLORES
                     5210 SHADY GLEN
                     ABILENE, TX 79606


                     LYN ELIZABETH NOTTINGHAM
                     5701 ANTILLEY RD
                     ABILENE, TX 79606


                     MACDONALD DEVIN P.C.
                     1201 ELM ST., STE 3800
                     DALLAS, TX 75270


                     MALCOM SUPPLY CO.
                     1833 S. TREADAWAY
                     ABILENE, TX 79602


                     MALOY MOBILE STORAGE INC.
                     535 COMANCHE RD NE
                     ALBUQUERQUE, NM 87107


                     MANHATTAN TELECOMMUNICATIONS CORPORATION
                     55 WATER STREET
                     FLOOR 32
                     NEW YORK, NY 10041


                     MANUEL A RODRIQUEZ
                     714 COTTONWOOD
                     COLEMAN, TX 76834
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                     MARCUS GAND
                     5225 SHENANDOAH DR
                     ABILENE, TX 79605


                     MARK C JACKSON
                     11421 CR 1259
                     FLINT, TX 75762


                     Markel Surety d/b/a SureTec Indemnity Co
                     1330 Post Oak Blvd., Suite 1100
                     Houston, TX 77056


                     MARSH & MCLENNAN AGENCY, LLC
                     PO BOX 848315
                     DALLAS, TX 75284


                     MATCOR, INC.
                     14250 OLD KATY RD., #150
                     HOUSTON, TX 77079


                     MATT HIGGINS
                     3157 COUNTY RD 154
                     TUSCOLA, TX 79562


                     MATT MCKINNEY
                     251 CR 496
                     Goldsboro, TX 79519


                     MATTHEW DEEL
                     302 CLYDE WAY UNIT B
                     CLYDE, TX 79510


                     MATTHEW E PONDER
                     48 HARPER LN
                     MANCHESTER, TN 37355
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                     MCCARTY EQUIPMENT CO. LTD
                     1802 S. TREADAWAY BLVD
                     ABILENE, TX 79602


                     MCJUNKIN REDMAN CORPORATION
                     P. O. BOX 4395
                     ODESSA, TX 79760


                     McMahon Surovik Suttle, PC
                     c/o Chet Caldwell
                     P.O. Box 3679
                     Abilene, TX 79604


                     MCMAHON,SUROVIK,SUTTLE PC
                     400 PINE ST. STE 800
                     ABILENE, TX 79601


                     MCMASTER-CARR SUPPLY CO.
                     PO BOX 7690
                     CHICAGO, IL 60680


                     MDA SCAFFOLDING, LLC
                     PO BOX 7589
                     ODESSA, TX 79760


                     MICA ANN ODOM
                     4333 ANTILLEY ROAD
                     ABILENE, TX 79606


                     Mica Odom - FAB Petty Cash
                     550 S. 18th
                     Abilene, TX 79602


                     MICHAEL BARBEE
                     250 5th STREET
                     HAWLEY, TX 79525
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                     MICHAEL R ADKINS
                     608 LILLY LN
                     BULLARD, TX 75757


                     MICHAEL R MARTIN JR
                     701 EAST MOONLIGHT DR.
                     ROBINSON, TX 76706


                     Michael Wenger
                     Legal Counsel
                     Siemens Energy, Inc.
                     Quadrangle, 4400 Alafaya Trail MC Q2-290
                     Orlando, FL 32826


                     MICROSOFT CORPORATION
                     995 DALTON AVE
                     CINCINATTI, OH 45203


                     MILFORD
                     7607 W. INDUSTRIAL AVE
                     MIDLAND, TX 79706


                     MITEL CLOUD SERVICES
                     1146 N ALMA SCHOOL ROAD
                     MESA, AZ 85201


                     MOBILE MINI, INC
                     4646 E. VAN BUREN, SUITE 400
                     PHOENIX, AZ 85008


                     MONIQUE N MURPHY
                     21 ALAMO DR
                     TUSCOLA, TX 79562


                     MONTY HAMBRICK
                     PO BOX 464
                     CLYDE, TX 79510
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                     MOTION INDUSTRIES, INC
                     P.O. BOX 849737
                     DALLAS, TX 75284-9737


                     Mott Corporation
                     84 Spring Lane
                     Farmington, CT 06032


                     MUTUAL OF OMAHA INSURANCE COMPANY
                     3300 MUTUAL OF OMAHA PLAZA
                     OMAHA, NE 68175


                     NATIONAL CONSTRUCTION RENTALS
                     15319 CHATSWORTH ST
                     MISSION HILLS, CA 91345


                     NEW MEXICO TAXATION & REVENUE
                     P. O. BOX 630
                     SANTA FE, NM 87504


                     NEXTRACKER, INC
                     6200 PASEO PADRE PKWY
                     FREMONT, CA 94555


                     NICHOLAS A ZUCKERMAN
                     26311 LANDOVER HILLS LN
                     KATY, TX 77494


                     NICHOLAS W HOLCOMB
                     3225 SANDALWOOD LN
                     TYLER, TX 75701


                     Obermayer Rebmann Maxwell & Hippel LLP
                     Centre Square West
                     1500 Market Street, Suite 3400
                     Philadelphia, PA 19102-2101
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                     Occidental Permian, Ltd.
                     P.O. Box 2004
                     Houston, TX 77252


                     OCCMEDTX ADC
                     3449 N 10TH
                     ABILENE, TX 79603


                     OCTAVIO ESTEVEZ BALTAZAR
                     80620 3309 KING FISHER CO DR
                     EVANS, CO 80620


                     OLDCASTLE INFRASTRUCTURE, A CRH CO.
                     1100 HERITAGE PARKWAY
                     MANSFIELD, TX 76063


                     Origin Bank
                     9805 Katy Freeway, Suite 200
                     Houston, TX 77024


                     OVIDIU SEBASTIAN TOTHEZAN
                     2712 BRITTANY LANE
                     GRAPEVINE, TX 76051


                     P 2 PROGRAMS
                     P. O. BOX 1000
                     DRIPPING SPRINGS, TX 78620


                     PAMELA R LANGLEY
                     7447 FM 1226 S
                     HAWLEY, TX 79525


                     PAUL GRANGER
                     26525 US HWY 431
                     FIVE POINTS, AL 36855
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                     PC CONNECTION, MACCONNECTION
                     730 MILLFORD RD
                     MERRIMACK, NH 03054


                     PEDRO LUNA
                     3934 NW LOOP 410
                     SAN ANTONIO, TX 78229


                     Penn Huston
                     MouerHuston
                     349 Heights Boulevard
                     Houston, TX 77007


                     PETTIGREW & ASSOCIATES, P.A.
                     100 E. NAVAJO DR. STE 100
                     HOBBS, NM 88240


                     PIPELINE PRODUCTS SPECIALTY COMPANY
                     3890-C NORTH FREEWAY
                     HOUSTON, TX 77022


                     PIPELINE SUPPLY & SERVICE, INC
                     PO BOX 301130
                     HOUSTON, TX 77230-1130


                     PIPELINE SUPPLY & SVC CO., LLC
                     1010 LAMAR, STE 710
                     HOUSTON, TX 77002


                     Pitney Bowes Global Financial
                     P. O. BOX 371887
                     PITTSBURGH, PA 15250-7887


                     POWER ENGINEERING SERVICES, INC.
                     9179 SHADOW CREEK LANE
                     CONVERSE, TX 78109
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                     PURCHASE POWER
                     1245 E. BRICKYARD RD. STE 250
                     SALT LAKE CITY, UT 84106-4278


                     QUILL CORPORATION
                     100 SCHELTER RD.
                     LINCOLNSHIRE, IL 60069


                     R. Stephen Ressling
                     Chernosky, Smith, Ressling & Smith PLLC
                     3664 Walnut Bend Ln., Bldg. B
                     Houston, TX 77042-4851


                     RAJEEV KARKI
                     6360 MANCHESTER CT
                     TYLER, TX 75703


                     RANDALL BARBEE
                     P.O. BOX 772
                     HAWLEY, TX 79525


                     RANDY R BEYER
                     1756 EN 10TH ST
                     ABILENE, TX 79601


                     RAUL MARTINEZ
                     3010 PROSPECT AVE
                     FORT WORTH, TX 76106


                     REBECCA L. FORD
                     PO BOX 847
                     BAIRD, TX 79504


                     REBECCA N DANTZLER
                     1910 S 19TH ST
                     ABILENE, TX 79602
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                     REED SMITH LLP
                     225 FIFTH AVENUE
                     PITTSBURGH, PA 15222


                     REGISTERED AGENT SOLUTIONS INC.
                     1701 DIRECTORS BLVD
                     SUITE 300
                     AUSTIN, TX 78744


                     REINFORCING STEEL SUPPLY INC.
                     13730 AVE K
                     AUSTIN, TX 78728


                     RELEVANT INDUSTRIAL, LLC
                     9750 WEST SAM HOUSTON PARKWAY NORTH
                     SUITE 190
                     HOUSTON, TX 77064


                     RELIANCE COMMUNICATIONS
                     INTERNATIONAL INC.
                     380 MADISON AVE. 21ST FL.
                     NEW YORK, NY 10017


                     RETIREMENT, LLC - SERIES TWO
                     13838 QUAIL POINTE DRIVE
                     SUITE B
                     OKLAHOMA CITY, OK 73134


                     REXEL USA
                     DEPT. 0902
                     P.O. BOX 120902
                     DALLAS, TX 75312-0902


                     RHONDA WILLIAMS
                     PO BOX 450642
                     HOUSTON, TX 77245


                     RICARDO MARTINEZ
                     5326 ENCINO RD
                     ABILENE, TX 79605
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                     RICARDO VILLANUEVA
                     412 JOSEPH ST
                     EL PASO, TX 79927


                     RICHARD GLENN GARRISON
                     354 COUNTY RD. 123
                     ABILENE, TX 79601


                     RICHARD J HAVINS
                     6225 HONOR ROLL COURT
                     ABILENE, TX 79606


                     RILCO MANUFACTURING COMPANY IN
                     11435 BRITTMOORE PARK DR.
                     HOUSTON, TX 77041


                     ROBELO MIRANDA OVIEDO
                     529 E ESPERANZA AVE
                     MISSION, TX 78574


                     ROBERT ESPINOSA JR
                     2858 HIGHLAND
                     ABILENE, TX 79605


                     ROBERT J CROSSMAN
                     1001 GRAHAM
                     TUSCOLA, TX 79562


                     ROBERT ROY
                     6905 SUNBRIAR DR.
                     CUMMING, GA 30040


                     ROBERTO GARZA
                     PO BOX 274
                     GARCIASVILLE, TX 78547
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                     ROBERTO RODARTE JUAREZ
                     527 N 91ST EAST PL
                     TULSA, OK 74115


                     ROGER V BOONE
                     952 FM 49
                     MINEOLA, TX 75773


                     ROLLED ALLOYS, L.P.
                     9818 E. HARDY RD
                     HOUSTON, TX 77093


                     RONALD EDWARDS
                     13680 COUNTY ROAD 4200
                     TYLER, TX 75771


                     Rose LLP
                     Suite 2100, 440 - 2nd Avenue SW
                     Calgary, Alberta T2P 5E9


                     ROY F WORKMAN
                     2817 SHEPHERD ST
                     ABILENE, TX 79605


                     ROYCE BROOKS GARAGE
                     809 OAK
                     ABILENE, TX 79602


                     RUBEN RODRIQUEZ
                     PO BOX 273
                     TUSCOLA, TX 79562


                     RUSSELL BURCHETT
                     233 FILLY RD
                     ABILENE, TX 79606
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                     RYAN L ROLLINS
                     4933 CRYSTAL CREEK
                     ABILENE, TX 79606


                     RYAN M BLOSER
                     11086 WESTHAVEN CIRCLE
                     FLINT, TX 75762


                     SAFEGUARD BACKGROUND SCREENING
                     1284 SOM CENTER RD #119
                     MAYFIELD HEIGHTS, OH 44124


                     SAFERACK, LLC
                     730 ELECTRIC DR.
                     SUMTER, SC 29153


                     SANTA FE VACUUM EXCAVATION
                     14 BROWNCASTLE RANCH
                     SANTA FE, NM 87508


                     SANTA FE WASTE MANAGEMENT LLC
                     PO BOX 29540
                     SANTA FE, NM 87592-9540


                     SCOTT W BALDWIN
                     5519 DIXONS MILL RD
                     MARSHALL, VA 20115


                     SERGIO J DURAN
                     1303 GREENFIELD AVE
                     MISSION, TX 78572


                     SERGIO SORIANO
                     5410 CAPITOL AVE.
                     ABILENE, TX 79603
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                     SERJIO A MARTINEZ
                     2709 MIMOSA
                     ABILENE, TX 79603


                     SERVICE RADIO RENTALS LLC
                     P. O. BOX 4577
                     CAROL STREAM, IL 60197-4577


                     SETPOINT INTEGRATED SOLUTIONS
                     P. O. BOX 86630
                     BATON ROUGE, LA 70809


                     SHARON D GONZALES
                     1519 YEOMANS RD
                     ABILENE, TX 79602


                     SHELTON D. MARSHALL JR.
                     841 BRIARWOOD ST
                     ABILENE, TX 79603


                     SHIDLOFSKY LAW FIRM PLLC
                     7200 N. MOPAC EXPRESSWAY
                     SUITE 430
                     AUSTIN, TX 78731


                     SHINPAUGH ENGINEERING INC
                     4 EUREKA CIRCLE
                     WITCHITA FALLS, TX 76308


                     Siemens Energy, Inc.
                     Attn: David Munroe
                     Quadrangle, 4400 Alfaya Trail MC Q2-290
                     Orlando, FL 32826


                     SIERRA CANYON CONSTRUCTION , LLC
                     1040 DON DIEGO AVE STE 9
                     SANTE FE, NM 87505
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                     SK GLOBAL SOFTWARE
                     940 GEMINI STREET
                     HOUSTON, TX 77058


                     SNC LAVALIN ENGINEERING INDIA PVT LTD
                     TRADE STAR "A" WING 2ND FLOOR JB NAGAR
                     ANDHERI-KURTA ROAD, ANDHERI
                     MUMBIA, MH 00040-0059


                     Solairedirect USA Inc.
                     c/o Engie Development, LLC
                     1990 Poast Oak Blvd., Suite 1900
                     Houston, TX 77056


                     SOUTH TEXAS DUMPSTERS
                     9346 TX-106 LOOP
                     SAN ANTONIO, TX 78263


                     SOUTHWEST STAINLESS & ALLOY
                     6750 WEST LOOP SOUTH
                     SUITE 520
                     BELLAIRE, TX 77401


                     SPIRE CONSULTING GROUP, LLC
                     114 WEST 7TH ST., STE 1300
                     NORWOOD TOWER
                     AUSTIN, TX 78701


                     STANLEY ADAMS
                     285 EAST BARCELONA DR.
                     ST. GEORGE, UT 84790


                     STEPHANIE SILVAS
                     4620 LAKESHORE DR
                     PORT ARTHUR, TX 77642


                     STEPHANIE VICARS
                     10317 County Road 244
                     CLYDE, TX 79510
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                     STEPHENS RUBBER STAMPS & SIGNS
                     1201 BUTTERNUT
                     ABILENE, TX 79602


                     STEVEN A JOHNSON
                     7129 IVANPAH AVE
                     TWENTYNINE PALMS, CA 92277


                     STEVEN F RICH
                     86 HILL TOP RD
                     HUNTSVILLE, TX 77320


                     STEVEN L JOSEPHSON
                     2942 STONECREST DR
                     ABILENE, TX 79606


                     STEWART & STEVENSON POWER PRODUCTS, LLC
                     55 WAUGH DRIVE
                     SUITE 1000
                     HOUSTON, TX 77007


                     SUDDENLINK COMMUNICATIONS
                     520 MARYVILLE CTR DR., 1ST FLR
                     ST. LOUIS, MO 63141


                     SUNBELT RENTALS, INC
                     2341 DEERFIELD DR.
                     FORT MILL, SC 29715


                     SUNSTATE EQUIPMENT CO., LLC
                     5552 E. WASHINGTON ST.
                     PHOENIX, AZ 85034


                     SUSANNA M RODARTE VILLASANA
                     527 N 91ST E PL LOT 22
                     TULSA, OK 74115
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                     TACTICAL AUTOMATION INC
                     24165 IH-10 WEST
                     SUITE 217 #632
                     SAN ANTONIO, TX 78257


                     TAD TIMMONS
                     PO Box 625
                     TOLAR, TX 76476


                     TANNER L WELLS
                     110 JOYNER ST
                     JUDSONA, AR 72081


                     TAYLOR D NELSON
                     547 YELLOW JACKET RD
                     DAYTON, NV 89403


                     TEXAS ReEXCAVATION LC
                     5114 RAILROAD STREET
                     DEER PARK, TX 77536


                     THE HARKER GROUP LLC
                     8 S. ATLANTA ST.
                     OWASSO, OK 74055


                     THE LANTERN PROJECT
                     P. O. BOX 72
                     ABILENE, TX 79604-0072


                     The Lauren Corporation
                     901 S. First Street
                     Abilene, TX 79602


                     The Lauren Corporation
                     901 S. 1st Street
                     Abilene, TX 79602
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                     The National Board of Boiler &
                     VESSEL INSPECTORS
                     1055 CRUPPER AVE.
                     COLUMBUS, OH 43229-1183


                     THE PAINT & SAFETY STORE, INC.
                     201 S. BENTON ST.
                     BIG SPRING, TX 79720


                     THOMSON REUTERS WEST
                     P.O. BOX 64833
                     ST. PAUL, MN 55164-0833


                     THYSSENKRUPP ELEVATOR CORP
                     P.O. BOX 933004
                     ATLANTA, GA 31193-3004


                     TIM CRITTENDEN
                     670 EAST STATE RD 35
                     FRANCIS, UT 84036


                     TIMOTHY HEFFRON
                     12933 US HWY 277 S
                     TUSCOLA, TX 79562


                     TIOGA PIPE SUPPLY CO., INC
                     2450 WHEATSHEAF LN
                     PHILADELPHIA, PA 19137


                     TLC Air, LLC
                     901 S. First Street
                     Abilene, TX 79602


                     TONY CONDER
                     4150 SOUTWEST DR
                     STE 210
                     ABILENE, TX 79606
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                     TONY M CASTELLANO
                     407 N 7TH ST
                     LAMESA, TX 79331


                     TRAVIS C SMITH
                     1225 W PROSPECT RD V81
                     FORT COLLINS, CO 80526


                     TRENTON RAVEN
                     3214 HUTCHINS ST
                     HOUSTON, TX 77004


                     TREVOR W WHITLOW
                     4272 TIGER LN
                     LAKE ARTHUR, LA 70549


                     TRIBRIDGE HOLDINGS LLC.
                     4830 W. KENNEDY BLVD, STE 890
                     TAMPA, FL 33609


                     TRILEGAL
                     ONE INDIABULLS CENTRE 14TH FL
                     TOWER 1, ELPHINSTONE RD
                     MUMBAI, INDIA 00040-0013


                     TRINA PARKS
                     401 CR 654
                     TUSCOLA, TX 79562


                     TRISHA MARIE KANE
                     2526 S 41ST ST
                     ABILENE, TX 79605


                     TRISTAN C ARCHER
                     706 N AVE G
                     LAMESA, TX 79331
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                     TROY ARCE
                     130 SW AVE J
                     HAMLIN, TX 79520


                     TROY VINES INC
                     2817 RANKIN HIGHWAY
                     MIDLAND, TX 79706


                     TRUELINE CONSTRUCTION LAYOUT, LLC
                     9918 MCCULLOUGH AVE
                     SAN ANTONIO, TX 78216


                     Tucker Albin & Associates
                     c/o Russell Baker
                     1212 Turtle Creek Blvd.
                     Dallas, TX 75207


                     TULSA HEATERS INC.
                     1350 S. BOULDER STE 800
                     TULSA, OK 74119


                     TURNAROUND TRANSPORTATION, INC
                     1052 JAN LEE DR.
                     BURKBURNETT, TX 76354


                     TUSHAR SHAHANE
                     7402 MANDEVILLA DR
                     ABILENE, TX 79606


                     TX COMPTROLLER OF PUBLIC ACCTS
                     P.O. BOX 149348
                     AUSTIN, TX 78714-9348


                     TXU ENERGY
                     6555 SIERRA
                     DALLAS, TX 75265-0638
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                     TYLER J SCHOLZ
                     1677 N MAIN ST #49
                     CEDAR CITY, UT 84721


                     TYLER J TRACY
                     419 ELLIOT ST
                     WYLIE, TX 75098


                     TYSON C COCHRAN
                     103 SHERRY DR
                     MARSHALL, TX 75672


                     ULINE
                     2200 S. LAKESIDE DRIVE
                     WAUKEGAN, IL 60085


                     UNITED RENTALS (North America)
                     FIVE GREENWICH OFFICE PARK
                     GREENWICH, CT 06831-5180


                     UNITED WAY OF ABILENE
                     P.O. BOX 82
                     ABILENE, TX 79604


                     VALVE SOURCE, INC
                     4115 GREENBRIAR DR., STE B
                     STAFFORD, TX 77477


                     VERN HICKS
                     PO BOX 7495
                     SHONTO, AZ 86054


                     VERNELLE D BEDONIE
                     PO BOX 163
                     TONALEA, AZ 86044
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                     VERNON T WERTZ
                     457 COUNTY ROAD 4796
                     BOYD, TX 76023


                     VERSATILE INDUSTRIES V, LLC
                     P.O. BOX 62608
                     MIDLAND, TX 79711


                     VICTOR M VALDEZ JR
                     13425 RANCH RD 620 N, APT 218
                     AUSTIN, TX 78717


                     VULCAN CONSTRUCTION MATERIALS
                     P O BOX 849131
                     SUITE 400
                     DALLAS, TX 75284-9131


                     Warren Cat
                     PO Box 842116
                     Dallas, TX 75284-2116


                     WDS PARTNERS LP
                     6000 WESTERN PL., SUITE 110
                     FT. WORTH, TX 76107


                     WEST TEXAS DUMPSTERS
                     6100 LAKE FORREST DR
                     SUITE 505
                     ATLANTA, GA 30328


                     WESTERN STATES FIRE PROTECTION
                     5200 PASADENA AVE NE
                     SUITE A
                     ALBUQUERQUE, NM 87113


                     Whitener Family Limited Partnership I
                     901 South 1st Street
                     Abilene, TX 79601
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                     WILLIAM EDWARDS
                     2310 SAVANAH OAKS
                     ABILENE, TX 79602


                     WILLIAM HOLMES
                     302 STALLION RD
                     ABILENE, TX 79606


                     WILLIAM ROSS MCDANIEL
                     2228 BAYOU COVE LN
                     LEAGUE CITY, TX 77573


                     WILLIAMS SCOTSMAN
                     3232 S. 48th ST
                     PHOENIX, AZ 85040


                     WILLIE E GREEN
                     331 GULF AVE
                     WILMINGTON, CA 90744


                     WILLIE WILLIAMS
                     2201 W OREM #1023
                     HOUSTON, TX 77047


                     WISCONSIN DEPT. FIN. INSTITUTI
                     DIV. OF CORP. & CONSUMER
                     P O BOX 7846
                     MADISON, WI 53707-7846


                     WOLSELEY IND GROUP
                     4407 W. Industrial Ave.
                     Midland, TX 79703


                     WOOD EIS INC
                     1105 LAKEWOOD PKWY
                     SUITE 300
                     ALPHARETTA, GA 30009
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                     WTG Fuels , INC.
                     P.O. Box 1215
                     4000 Pine St.
                     Abilene, TX 79604


                     XEROX FINANCIAL SERVICES LLC
                     SUITE 245
                     8606 ALLISONVILLE ROAD
                     INDIANAPOLIS, IN 46250


                     ZACHARY A BIBEE
                     9455 SKY VISTA PKWY APT 21F
                     RENO, NV 89506


                     ZENNY J BALLEZA
                     4001 KAREN DR
                     ABILENE, TX 79606
